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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF KENTUCKY
                                   LOUISVILLE DIVISION
                                 ELECTRONICALLY FILED

LARRY WOODS                                    )
                                               )
       Plaintiff                               )
                                               )
vs.                                            )     CIVIL ACTION NO. 3:18-cv-00855-JHM-CHL
                                               )
TARGET CORPORATION                             )
                                               )
       Defendant                               )
                                               )
_________________________________              )

                            DEFENDANT’S EXPERT DISCLOSURE

       Comes the Defendant, Target Corporation (“Target”), by counsel, in accordance with Federal

Rule of Civil Procedure 26 and this Court’s January 27, 2020 Order (DN 28), states as follows:

       Target hereby submits its list of expert witnesses who may be called to testify at trial.

       1.      Arthur F. Lee, M.D., Orthopedic Surgeon, Cincinnati, OH

       A copy of Dr. Lee’s curriculum vitae is attached hereto as Exhibit 1. Dr. Lee is an orthopedic

surgeon who practices in Cincinnati, OH and Northern Kentucky. He is board certified in orthopedic

surgery, and is board certified by the American Board of Independent Medical Examiners. Dr. Lee

has reviewed the Plaintiff’s medical records, the Plaintiff’s deposition testimony, and the Plaintiff’s

expert disclosure. His opinions are based upon his review of the materials, his education, training, and

experience, and they will be given within a reasonable degree of medical probability. Dr. Lee’s report

containing his opinions is attached hereto as Exhibit 2.

       Dr. Lee may be called to respond to any expert proof submitted by Plaintiff regarding

causation and damages. Additionally, Dr. Lee is expected to testify that Plaintiff did not sustain any

injury to his right knee as a result of his incident at Target on November 27, 2017. Additionally, Dr.
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 Lee is expected to testify that, at most, Plaintiff sustained a mild low back strain superimposed upon

 his previous documented low back issues and diagnosis of right sciatica. Dr. Lee is expected to opine

 that recovery from this mild strain would take no longer than one to three months, and Plaintiff would

 have then returned to his pre-incident baseline. Dr. Lee is expected to opine that none of Plaintiff’s

 medical care for his right knee is related to his incident at Target on November 27, 2017, and that

 Plaintiff has no need for further care or treatment for any condition sustained in the November 27,

 2017 incident. Dr. Lee will discuss his opinions in more detail during a discovery deposition, if

 requested, or otherwise at the trial of this matter, consistent with his report.

         2.      Target may call to testify any of Plaintiff’s treating providers.

         3.      Target may call to testify any of the experts listed in Plaintiff’s expert disclosure.

         4.      Target reserves the right to utilize any deposition testimony of any of Plaintiff’s expert

 witnesses.

         5.      Target reserves the right to call to testify any experts needed for the purpose of

 rebuttal.

         6.      Target reserves the right to amend or supplement the opinions of the experts listed

 herein pending the conclusion of expert and fact witness discovery.




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                                         Respectfully submitted,

                                         /s/ Richard P. Schiller
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                                         Counsel for Defendant Target Corporation


                                   CERTIFICATE OF SERVICE

          It is hereby certified that on the 28th day of April, 2020, I electronically filed the foregoing
 with the clerk of the Court by using the CM/ECF system, which will send a notice of electronic
 filing to the following:


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 /s/ Richard P. Schiller
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